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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                     X

PATRICIA BENTIVEGNA,
                                                           Civ. No.: 17-CV-07079(AJN)
                                       Plaintiff,
                                                           ECF Filed Case
                     -against-

ODYSSEY HOUSE, INC. and DURGA
                                                           DEFENDANTS’ ANSWER AND
VALLABHANENI,
                                                           AFFIRMATIVE   AND   OTHER
                                                           DEFENSES   TO   PLAINTIFF’S
                                     Defendants.
                                                           COMPLAINT
                                                     X


                Defendants Odyssey House, Inc. (hereafter referred to as “Odyssey House”) and

Durga Vallabhaneni (hereafter collectively referred to as “Defendants”) by and through their

attorneys Jackson Lewis P.C., for their Answer and Affirmative and Other Defenses to the

Complaint (“Complaint”) of Plaintiff Patricia Bentivegna (“Plaintiff”), hereby state as follows:

                                 AS TO “NATURE OF THE ACTION”

                 Defendants deny the allegations set forth in the Paragraph labeled “Nature of the

Action” in the Complaint, except aver that Plaintiff alleges claims pursuant to Federal, State, and

City law.

                             AS TO “JURISDICTION AND VENUE”

                1. The allegations set forth in Paragraph “1” of the Complaint state legal

conclusions to which no response is required. To the extent that a response is required, Defendants

deny the allegations set forth in Paragraph “1” of the Complaint, except aver that Plaintiff purports

to invoke jurisdiction of the Court as recited therein.

                2.      The allegations set forth in Paragraph “2” of the Complaint state legal

conclusions to which no response is required. To the extent that a response is required, Defendants
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deny the allegations contained in Paragraph “2” of the Complaint, except aver that to the extent

jurisdiction is proper, venue is appropriate in the Southern District of New York.

                3.      Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “3” of the Complaint, except aver that

Plaintiff filed a Charge of Discrimination with the United States Equal Employment Opportunity

Commission (“EEOC”) and deny any allegation of discrimination and/or wrongdoing as alleged

in the EEOC Charge and herein.

                4.      Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “4” of the Complaint.

                5.      Defendant denies knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “5” of the Complaint.

                                       AS TO “PARTIES”

                6.      Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “6” of the Complaint, except aver that

Plaintiff is an individual.

                7.      Defendants admit the allegations set forth in Paragraph “7” of the

Complaint.

                8.      Defendants deny the allegations set forth in Paragraph “8” of the Complaint,

except aver that Mr. Vallabhaneni has served as Senior Vice President, Chief Financial and

Administrative Officer of Odyssey House throughout Plaintiff’s employment with Odyssey

House.




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                       AS TO “FACTS COMMON TO ALL COUNTS”

               9.      Defendants admit the allegations set forth in Paragraph “9” of the

Complaint.

               10.     Defendants deny the allegations set forth in Paragraph “10” of the

Complaint, except aver that Plaintiff was employed by Odyssey House from March 25, 2013 to

April 12, 2016 as a Director of Purchasing.

               11.     Defendants deny the allegations set forth in Paragraph “11” of the

Complaint.

               12.     Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “12” of the Complaint.

               13.     Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “13” of the Complaint.

               14.     Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “14” of the Complaint, except deny that

Plaintiff informed “Defendant Vallabhaneni of her diagnosis”.

               15.     Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “15” of the Complaint.

               16.     Defendants admit that on April 8, 2016, Plaintiff sent an e-mail stating,

among other things, that she had “been going through some health related issues since October

2015. After going through the testing and surgery last year, some serious issues have come about

from it. I am under the care of doctors at NYU Langone. I had a procedure done last week and

other yesterday”, and aver that the entirety of said e-mail speaks for itself.

               17.     Defendants deny the allegations set forth in Paragraph “17” of the

Complaint.
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               18.     Defendants deny the allegations set forth in Paragraph “18” of the

Complaint.

               19.     Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “19” of the Complaint.

               20.     Defendants deny the allegations set forth in Paragraph “20” of the

Complaint, except aver that Mr. Vallabhaneni met with Plaintiff on April 11, 2016.

               21.     Defendants deny the allegations set forth in Paragraph “21” of the

Complaint, except aver that during the April 11, 2016 meeting, Mr. Vallabhaneni explained to

Plaintiff, as he had done in the past, that it was her responsibility to solicit purchasing bids for

maintenance and repair of HVAC equipment.

               22.     Defendants deny the allegations set forth in Paragraph “22” of the

Complaint.

               23.     Defendants deny the allegations set forth in Paragraph “23” of the

Complaint.

               24.     Defendants deny the allegations set forth in Paragraph “24” of the

Complaint, except aver that Plaintiff’s employment with Odyssey House ended on April 12, 2016.

               25.     Defendants deny the allegations set forth in Paragraph “25” of the

Complaint.

               26.     Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “26” of the Complaint.

               27.     Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “27” of the Complaint.




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               28.     Defendants deny knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations set forth in Paragraph “28” of the Complaint.

               29.     Defendants deny the allegations set forth in Paragraph “29” of the

Complaint.

               30.     Defendants deny the allegations set forth in Paragraph “30” of the

Complaint.

    AS TO “FIRST CAUSE OF ACTION (ODYSSEY HOUSE – AMERICANS WITH
                DISABILITIES ACT (ADA) - DISCRIMINATION”

               31.     Defendants repeat and reallege each and every statement contained in their

responses to Paragraphs “1” to “30” of the Complaint, as though set forth at length herein.

               32.     The allegations set forth in Paragraph “32” of the Complaint state legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny the allegations set forth in Paragraph “32” of the Complaint, except aver that Odyssey House

has fifteen (15) or more employees.

               33.     The allegations set forth in Paragraph “33” of the Complaint state legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny the allegations set forth in Paragraph “33” of the Complaint.

               34.     Defendants deny the allegations set forth in Paragraph “34” of the

Complaint.

               35.     Defendants deny the allegations set forth in Paragraph “35” of the

Complaint, except aver that Plaintiff’s employment with Odyssey House ended on April 12, 2016.

               36.     Defendants deny the allegations set forth in Paragraph “36” of the

Complaint.




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               37.     Defendants deny the allegations set forth in Paragraph “37” of the

Complaint.

  AS TO “SECOND CAUSE OF ACTION (ODYSSEY HOUSE – AMERCIANS WITH
               DISABILITIES ACT (ADA) – RETALIATION)”

               38.     Defendants repeat and reallege each and every statement contained in their

responses to Paragraphs “1” to “37” of the Complaint, as though set forth at length herein.

               39.     The allegations set forth in Paragraph “39” of the Complaint state legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny the allegations set forth in Paragraph “39” of the Complaint, except aver that Plaintiff filed a

Charge of Discrimination with the EEOC and deny any allegation of discrimination and/or

wrongdoing as alleged in the EEOC Charge and herein.

               40.     Defendants deny the allegations set forth in Paragraph “40” of the

Complaint, except aver that Odyssey House received a copy of the Charge of Discrimination

Plaintiff filed with the EEOC.

               41.     Defendants deny the allegations set forth in Paragraph “41” of the

Complaint.

               42.     Defendants deny the allegations set forth in Paragraph “42” of the

Complaint.

     AS TO “THIRD CAUSE OF ACTION (ODYSSEY HOUSE AND DEFENDANT
         VALLABHANENI- EXECUTIVE LAW § 296 – DISCRIMINATION)”

               43.     Defendants repeat and reallege each and every statement contained in their

responses to Paragraphs “1” to “42” of the Complaint, as though set forth at length herein.

               44.     The allegations set forth in Paragraph “44” of the Complaint state legal

conclusions to which no response is required. To the extent a response is required, Defendants



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deny the allegations set forth in Paragraph “44” of the Complaint, except aver that Odyssey House

has more than four (4) persons in its employ.

               45.    The allegations set forth in Paragraph “45” of the Complaint state legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny they have violated the New York State Human Rights Law and refer the Court to the New

York State Human Rights Law for the true contents and effects thereof.

               46.    Defendants deny the allegations set forth in Paragraph “46” of the

Complaint.

               47.    Defendants deny the allegations set forth in Paragraph “47” of the

Complaint.

               48.    Defendants deny the allegations set forth in Paragraph “48” of the

Complaint.

               49.    Defendants deny the allegations set forth in Paragraph “49” of the

Complaint.

    AS TO “FOURTH CAUSE OF ACTION (ODYSSEY HOUSE AND DEFENDANT
          VALLABHANENI- EXECUTIVE LAW § 296- RETALIATION)”

               50.    Defendants repeat and reallege each and every statement contained in their

responses to Paragraphs “1” to “49” of the Complaint, as though set forth at length herein.

               51.    The allegations set forth in Paragraph “51” of the Complaint state legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny they have violated the New York State Human Rights Law and refer the Court to the New

York State Human Rights Law for the true contents and effects thereof.

               52.    Defendants deny the allegations set forth in Paragraph “52” of the

Complaint.

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               53.    Defendants deny the allegations set forth in Paragraph “53” of the

Complaint.

     AS TO “FIFTH CAUSE OF ACTION (ODYSSEY HOUSE AND DEFENDANT
     VALLABHANENI – NEW YORK CITY ADMINSITRATIVE CODE § 8-107-
                           DISCRIMINATION)”

               54.    Defendants repeat and reallege each and every statement contained in their

responses to Paragraphs “1” to “53” of the Complaint, as though set forth at length herein.

               55.    Defendants deny the allegations set forth in Paragraph “55” of the

Complaint.

               56.    The allegations set forth in Paragraph “56” of the Complaint state legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny they have violated the New York City Human Rights Law and refer the Court to the New

York City Human Rights Law for the true contents and effects thereof.

               57.    Defendants deny the allegations set forth in Paragraph “57” of the

Complaint.

     AS TO “SIXTH CAUSE OF ACTION (ODYSSEY HOUSE AND DEFENDANT
      VALLABHANENI- NEW YORK CITY ADMINISTRATIVE CODE § 8-107
                            RETALIATION)”

               58.    Defendants repeat and reallege each and every statement contained in their

responses to Paragraphs “1” to “57” of the Complaint, as though set forth at length herein.

               59.    The allegations set forth in Paragraph “59” of the Complaint state legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny they have violated the New York City Human Rights Law and refer the Court to the New

York City Human Rights Law for the true contents and effects thereof.




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                60.     Defendants deny the allegations set forth in Paragraph “60” of the

Complaint.

                               AS TO “WHEREFORE CLAUSES”

                61.     Defendants deny that Plaintiff is entitled to any of the relief specified in the

“WHEREFORE” clauses of the Complaint.

                                     AS TO “JURY DEMAND”

                62.     Defendants admit that Plaintiff purports to demand a jury trial, but deny

that Plaintiff has stated a claim or is entitled to any relief whatsoever.

                  AS AND FOR AFFIRMATIVE AND OTHER DEFENSES

                Defendants assert the following affirmative and other defenses without assuming

any burden of production or proof that they would not otherwise have. Defendants reserve the

right to assert additional defenses as they may become known during the course of discovery and

trial preparation or otherwise.

                       AS AND FOR DEFENDANTS’ FIRST DEFENSE

                The Complaint fails, in whole or in part, to state a claim upon which relief may be

granted or for which the relief or recovery sought can be awarded.

                      AS AND FOR DEFENDANTS’ SECOND DEFENSE

                Any and all actions taken by Defendants were taken for legitimate, non-

discriminatory, non-retaliatory reasons, and would have been taken regardless of Plaintiff’s alleged

disability, or any other protected characteristic.

                      AS AND FOR DEFENDANTS’ THIRD DEFENSE

                At all times relevant hereto, Defendants acted reasonably and in good faith toward

Plaintiff and have not violated any rights held by Plaintiff under any federal, state, or local laws,

rules, regulations, or guidelines.

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                      AS AND FOR DEFENDANTS’ FOURTH DEFENSE

                Plaintiff’s claims for damages are barred or should be reduced because she has

failed to mitigate her alleged damages by using reasonable diligence to seek and obtain

comparable employment elsewhere.

                       AS AND FOR DEFENDANTS’ FIFTH DEFENSE

                Plaintiff’s claims are barred, in whole or in part, because she unreasonably failed to take

advantage of Odyssey House’s preventive or corrective opportunities or to avoid harm otherwise.

                       AS AND FOR DEFENDANTS’ SIXTH DEFENSE

                Plaintiff’s claims are barred and/or any recovery of damages is precluded, in whole or in

part, because Defendants exercised reasonable care to prevent and promptly correct any alleged

discriminatory or retaliatory behavior.

                     AS AND FOR DEFENDANTS’ SEVENTH DEFENSE

                Plaintiff’s claims are barred, in whole or in part, by the doctrines of laches, estoppel,

waiver and/or other equitable defenses.

                      AS AND FOR DEFENDANTS’ EIGHTH DEFENSE

                Defendants’ conduct, even if it occurred, amounted to no more than what a

reasonable person would consider petty slights and trivial inconveniences.

                       AS AND FOR DEFENDANTS’ NINTH DEFENSE

                Plaintiff’s claims are barred, in whole or in part, because Plaintiff did not suffer any

damages attributable to any allegedly wrongful conduct by Defendants and/or any damages or

injuries were caused by Plaintiff’s own conduct or the conduct of third parties.

                       AS AND FOR DEFENDANTS’ TENTH DEFENSE

                Plaintiff is not entitled to recover any punitive damages against Defendants

because, inter alia, Defendants acted in good faith and did not commit, ratify, authorize or

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acquiesce in any malicious, willful, or reckless acts or omissions.

                    AS AND FOR DEFENDANTS’ ELEVENTH DEFENSE

                 Plaintiff’s prayer for injunctive relief is barred because Plaintiff has an adequate

remedy at law.

                     AS AND FOR DEFENDANTS’ TWELFTH DEFENSE

                 Plaintiff’s claims are barred, in whole or in part, to the extent she is not a qualified

individual with a disability entitled to relief within the meaning of the statutes upon which she

bases her claims.

                    AS AND FOR DEFENDANTS’ THIRTEENTH DEFENSE

                 Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations and/or other statutory or other provisions of law.




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             WHEREFORE, Defendants respectfully request that this Court:

      1.     Dismiss the Complaint in its entirety, with prejudice;

      2.     Deny each and every demand, claim, and prayer for relief contained therein;

      3.     Award Defendants reasonable attorneys’ fees and costs incurred in defending

             against this meritless action; and

      Grant such other and further relief to Defendants as the Court deems just and proper.

                                            Respectfully submitted,

                                            JACKSON LEWIS P.C.
                                            666 Third Avenue
                                            New York, New York 10017
                                            (212) 545-4000


Dated: November 27, 2017            By:     /s/ Wendy J. Mellk
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                                            ATTORNEYS FOR DEFENDANTS
                                            ODYSSEY HOUSE, INC. and DURGA
                                            VALLABHANENI




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